961 F.2d 1567
    M &amp; G Convoy, Inc.v.Automobile Mechanics &amp; Helpers, Gasoline &amp; ParkingAttendants, Automotive Transporters &amp; Inland Warehousemen,Greater Metropolitan New York &amp; Vicinity, Local Union No.917, affiliated with International Brotherhood of Teamsters,Chauffeurs, Warehousemen and Helpers of America, Burke (John T., Jr.)
    NO. 91-5756
    United States Court of Appeals,Third Circuit.
    Apr 21, 1992
    
      Appeal From:  D.N.J.,
      Barry, J.
    
    
      1
      AFFIRMED.
    
    